                            2:18-cr-20035-CSB-EIL # 1      Page 1 of 6
                                                                                                  E-FILED
                                                                Wednesday, 08 August, 2018 08:14:27 AM
                                                                           Clerk, U.S. District Court, ILCD

                      IN THE UNITED STATES DISTRICT COURT                          ILE
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION                                    AUG - 7 2018
                                                                              CLERK OF THE COURT
UNITED STATES OF AMERICA,                   )                            CENr¼:i. gisr:R/CTCOURT
                                            )                                       1S7 RICT OF ILLINOJS
               Plaintiff,                   )      Case No. 18-CR-20     35
                                            )
        vs.                                 )      Title 21, United States Code,
                                            )      Sections 841(a)(l), (b)(l)(B) & (b)(l)(C);
JOHN BOOE,                                  )      Title 18, United States Code,
                                            )      Sections 922(g)(l) & 922(0).
               Defendant.                   )      Title 26, United States Code,
                                            )      Section 5861(d)


                                     INDICTMENT

                                         COUNTl
                            (Distribution of Methamphetamine)

THE GRAND JURY CHARGES:

        On or about March 22, 2018, in Vermilion County, in the Central District of

Illinois,

                                       JOHN BOOE,

defendant herein, knowingly and intentionally distributed 5 grams or more of

rnethamphetarnine (actual), a Schedule II controlled substance.

        In violation of Title 21, United States Code, Sections 84l(a)(l) & (b)(l)(B).

                                         COUNT2
                            (Distribution of Methamphetamine)

THE GRAND JURY CHARGES:

        On or about March 22, 2018, in Vermilion County, in the Central District of

Illinois,
                          2:18-cr-20035-CSB-EIL # 1        Page 2 of 6




                                       JOHN BOOE,

defendant herein, knowingly possessed with the intent to distribute a mixture or

substance containing a detectable amount of methamphetamine, a Schedule II

controlled substance.

        In violation of Title 21, United States Code, Sections 841(a)(l) & (b)(l)(C).

                                        COUNT3
                            (Possession of Firearms by a Felon)

THE GRAND JURY CHARGES:

        On or about March 22, 2018, in Vermilion County, in the Central District of

Illinois,

                                       JOHN BOOE,

defendant herein, having been previously convicted of a crime punishable by

imprisonment for a term exceeding one year, did knowingly possess, in and affecting

commerce, firearms, that is: (1) an Auto Ordnance, Thompson Model 1921, .45 ACP

caliber firearm with the model and serial number obliterated; (2) a Superior Arms, S-15

model, 5.56mm caliber semi-automatic rifle bearing serial number 12470; (3) a Benelli,

121Ml model, 12 gauge semi-automatic shotgun bearing serial number 230856; (4) a

Carcano, Model 91/38, 5.6x52 Carcano caliber bolt action rifle bearing serial number

X16692; (5) a US Carbine, Ml model, .30 Carbine caliber semi-automatic rifle bearing

serial number 4917958; (6) a Chinese, Type 53 model, 7.62mm caliber bolt action rifle

bearing serial number 1313834; (7) an Armi Jager, AP 74 model, .22 Long Rifle caliber

semi-automatic rifle bearing serial number 72058; (8) a Marlin, Model 60, .22 Long Rifle

caliber semi-automatic rifle bearing serial number 10446567; (9) an Anderson
                                              2
                          2:18-cr-20035-CSB-EIL # 1        Page 3 of 6




Manufacturing, AM-15 model, 5.56mm caliber semi-automatic rifle bearing serial

number 16015947; (10) a Spike's Tactical, ST-15 model, semi-automatic rifle bearing

serial number KAI01609; (11) a CETME, Model 58, 7.62x51mm caliber rifle with an

obliterated serial number; (12) a semi-automatic rifle with an unmarked lower receiver

and a 9mm Parabellum caliber upper receiver with Palmetto Armory G3-9 markings;

(13) a Superior Arms, S-15 model, 5.56mm caliber semi-automatic lower receiver

bearing serial number 12482; (14) a CZ, 75B Silver Anniversary model, 9mm Luger

semi-automatic handgun bearing serial number 500; (15) seven AR-15 style unmarked

lower receivers.

        In violation of Title 18, United States Code, Section 922(g)(l).

                                         COUNT4
                               (Possession of a Machinegun)

THE GRAND JURY CHARGES:

        On or about March 22, 2018, in Vermilion County, in the Central District of

Illinois,

                                       JOHN BOOE,

defendant herein, knowingly possessed a machinegun, that is, an Auto Ordnance,

Thompson Model 1921, .45 ACP caliber firearm with the model and serial number

obliterated.

        In violation of Title 18, United States Code, Section 922(0).




                                              3
                          2:18-cr-20035-CSB-EIL # 1       Page 4 of 6



                                       COUNTS
              (Possession of Unregistered National Firearms Act Firearms)

THE GRAND JURY CHARGES:

        On or about March 22, 2018, in Vermilion County, in the Central District of

Illinois,

                                       JOHN BOOE,

defendant herein, knowingly received and possessed firearms, that is, an Auto

Ordnance, Thompson Model 1921, .45 ACP caliber machinegun with the model and

serial number obliterated; and a Spike's Tactical, ST-15 model, semi-automatic rifle

bearing serial number KAI01609 with a barrel measuring less than 16 inches, which are

not registered to him in the National Firearms Registration and Transfer Record.

        In violation of Title 26, United States Code, Section 5861(d).

                               FORFEITURE ALLEGATION

THE GRAND JURY CHARGES:

        1.     The Grand Jury re-alleges and incorporates by reference the allegations of

Counts Three through Five of this Indictment as though fully set forth herein, for the

purpose of alleging forfeiture pursuant to Title 18, United States Code, Section 924(d);

Title 28, United States Code, Section 2461(c); and Title 26, United States Code, Section

5872.

        2.     On or about March 22, 2018, in the Central District of Illinois,

                                       JOHN BOOE,

defendant herein, did engage in knowing violations of Title 18, United States Code,

Sections 922(g) and 922(0), and Title 26, United States Code, Section 5861(d), thereby
                                              4
                         2:18-cr-20035-CSB-EIL # 1       Page 5 of 6




subjecting to forfeiture to the United States, pursuant to Title 18, United States Code,

Section 924(d); Title 28, United States Code, Section 2461(c); and Title 26, United States

Code, Section 5872, any firearms and ammunition involved in the commission of the

offenses, including, but not limited to: (1) an Auto Ordnance, Thompson Model 1921,

.45 ACP caliber firearm with the model and serial number obliterated; (2) a Superior

Arms, S-15 model, 5.56mm caliber semi-automatic rifle bearing serial number 12470; (3)

a Benelli, 121Ml model, 12 gauge semi-automatic shotgun bearing serial number

230856; (4) a Carcano, Model 91/38, 5.6x52 Carcano caliber bolt action rifle bearing

serial number X16692; (5) a US Carbine, Ml modet .30 Carbine caliber semi-automatic

rifle bearing serial number 4917958; (6) a Chinese, Type 53 model, 7.62mm caliber bolt

action rifle bearing serial number 1313834; (7) an Armi Jager, AP 74 model, .22 Long

Rifle caliber semi-automatic rifle bearing serial number 72058; (8) a Marlin, Model 60,

.22 Long Rifle caliber semi-automatic rifle bearing serial number 10446567; (9) an

Anderson Manufacturing, AM-15 model, 5.56mm caliber semi-automatic rifle bearing

serial number 16015947; (10) a Spike's Tactical, ST-15 model, semi-automatic rifle

bearing serial number KAI01609; (11) a CETME, Model 58, 7.62x51mm caliber rifle with

an obliterated serial number; (12) a semi-automatic rifle with an unmarked lower

receiver and a 9mm Parabellum caliber upper receiver with Palmetto Armory G3-9

markings; (13) a Superior Arms, S-15 model, 5.56mm caliber semi-automatic lower

receiver bearing serial number 12482; (14) a CZ, 75B Silver Anniversary model, 9mm

Luger semi-automatic handgun bearing serial number 500; and (15) seven AR-15 style

unmarked lower receivers.

                                             5
                         2:18-cr-20035-CSB-EIL # 1      Page 6 of 6




      All pursuant to Title 28, United States Code, Section 2461(c); Title 18, United

States Code, Section 924(d); and Title 26, United States Code, Section 5872.

                                         A TRUE BILL.
                                                   s/Foreperson




              s/Gregory Harris



J
United States Attorney

BDF




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